 

 

Case 3:22-cr-00390-S Document12 Filed 10/26/22 Page1of3 PagelD 28

TXNP- AO 199A (Rev. 12/11) Order Setting Conditions of Release Page | of 3

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

UNITED STATES OF AMERICA

V. Case No. 3:22-cr-00390-S

Cr Lr Or Lr Lr

JOSEPH GARZA (1)

ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant’s release is subject to these conditions:

(1)
(2)
(3)

(4)

(5)

The defendant must not violate federal, state, or local law while on release.
The defendant must cooperate in the collection of a DNA sample if it is authorized by 42 U.S.C. § 14135a.

The defendant must advise the court or the pretrial services office or supervising officer in writing before making any
change of residence or telephone number.

The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
the court may impose.

The defendant must appear at: 1100 Commerce St., Dallas, TX 75242 as directed.
Place/Date/Time

If blank, defendant will be notified of next appearance.

The defendant must sign an Appearance Bond, if ordered.

U.S, DISTRICT COURT

NORTHERN DISTRICT OF TEXAS
77) .

 

By,
——— Tawney

Deputy

 
 

ADDITIONAL CONDITIONS OF RELEASE

IT IS FURTHER ORDERED that the defendant’s release is subject to the conditions marked below:
O (6) The defendant is placed in the custody of:
Person or organization
Address (only if above is an organization)
City and state Tel. No.
who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant’s appearance at all court proceedings, and (c) notify the court immediately if the
defendant violates a condition of release or is no longer in the custodian’s custody.

 

 

Signed:

Custodian Date
7 The defendant must:
(a) submit to supervision by and report for supervision to the Supervising Officer
telephone number 214/753-2500, no later than Ge Avected
(b) continue or actively seek employment.
(c) continue or start an education okt Offa
(d) surrender any passport to: Cerks Offa ce of
(e) not obtain a passport or other international travel document. )
(f) abide by the following restrictions on personal association, residence, (ove Hesrcteke * 7
(g) avoid all contact, directly s indirectly, with any persgn who is or may be a vic r, witness in the investigation 9
Phat participagud 1 Ye she Mer ae wor of Khe,

ineiogm of, nguding: st phn Oy aa fe

haar ile he ee Pr, Beaks, mia and he coat ay ‘ie preset

NK?

‘3 Ruse Orn
O ine medical or psye atric treatment:
O (i) return to custody each at o’clock after being released at o’clock for employment,

 

schooling, or the following purposes:

(j) maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer

considers necessary.

(k) not possess a firearm, destructive device, or other weapon.

(1) not use alcohol O at all O excessively.

(m) not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed to

defendant by a licensed medical practitioner, or any synthetic and/or natural substance that alters mood and/or cognitive ability, such

as CBD and hemp oils/products.

(n) submit to testing for a prohibited substance if required by the pretrial services office or supervising officer. Testing may be

used with random frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system,

and/or any form of prohibited substance screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper

with the efficiency and accuracy of prohibited substance screening or testing. The defendant shall contribute to the costs of services

rendered (copayment) based on ability to pay, as determined by the pretrial services office.

O (0) participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial services
office or supervising officer. The defendant shall contribute to the costs of services rendered (copayment) based on ability to pay, as
determined by the pretrial services office.

O (p) submit to location monitoring as directed by the pretrial services office or supervising officer and participate in one of the
following location restriction programs and comply with all program requirements as directed. The defendant must pay all or part of
the cost of any monitoring program based on ability to pay as determined by the pretrial services or supervising officer.

O (i) Curfew. You are restricted to your residence every day 0 from to ,or Das
directed by the pretrial services office or supervising officer; or

O (ii) Home Detention. You are restricted to your residence at all times except for employment; education; religious
services; medical, substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered
obligations; or other activities approved in advance by the pretrial services office or supervising officer; or

O (iii) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence except for medical
necessities and court appearances or other activities specifically approved by the court.

O (q) Stand Alone Monitoring (SAM): Requires the use of Global Positioning System (GPS) tracking to monitor and enforce any other
condition(s) of release (e.g., travel restrictions).
The defendant must pay all or part of the cost of any monitoring program based on ability to pay as determined by the pretrial services
or supervising officer.

O (r) report as soon as possible, to the pretrial services office or supervising officer, every contact with law enforcement personnel,

including arrests, questioning, or traffic stops. .

(s) por prom ofe , marles ov sett Me Ay shelter Yho7 I's Ske ple? * ” Ha

[nds ch nerd , or ant Siw] ar product, ti they Auretly or inderetls Gues: nor

ct) not counsel wv aduise any person sn Connection with mek of Tales
to Ye IKS, or the Bling & preparation of US. income Les

DOORS

O

 

 
 

ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a revocation of your
release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in imprisonment, a fine, or both.
While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be consecutive (i.e., in
addition to) to any other sentence you receive.
It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or attempt to intimidate a
witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are significantly more serious if they
involve a killing or attempted killing.
If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
(1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more — you will be fined
not more than $250,000 or imprisoned for not more than 10 years, or both;
(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years — you will be fined not more than
$250,000 or imprisoned for not more than five years, or both;
(3) any other felony — you will be fined not more than $250,000 or imprisoned not more than two years, or both;
(4) amisdemeanor— you will be fined not more than $100,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

Acknowledgment of the Defendant

I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all conditions of release, to
appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions set forth above.

tf FL

> Defendant 's Signature

 
    

Address, City, and State
Directions to the United States Marshal
of The defendant is ORDERED released after processing.

O The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the defendant has posted bond
and/or complied with all other conditions for release. If still in custody, the defendant must be produced before the appropriate judge at the time and place
specified.

Date: Spat wile
Judicial Officer's Signpetire

IRMA CARRILLO RAMIREZ, U.S. MAGISTRATE

 

 

Printed name and title

DISTRIBUTION: COURT DEFENDANT PRETRIAL SERVICE  U.S.ATTORNEY — U.S. MARSHAL
